Case 2:04-cr-00064-JRG   Document 132 Filed 08/19/05   Page 1 of 6   PageID #:
                                     18
Case 2:04-cr-00064-JRG   Document 132 Filed 08/19/05   Page 2 of 6   PageID #:
                                     19
Case 2:04-cr-00064-JRG   Document 132 Filed 08/19/05   Page 3 of 6   PageID #:
                                     20
Case 2:04-cr-00064-JRG   Document 132 Filed 08/19/05   Page 4 of 6   PageID #:
                                     21
Case 2:04-cr-00064-JRG   Document 132 Filed 08/19/05   Page 5 of 6   PageID #:
                                     22
Case 2:04-cr-00064-JRG   Document 132 Filed 08/19/05   Page 6 of 6   PageID #:
                                     23
